                    Case 1:20-cv-10832-AT-SN Document 453 Filed 03/23/22 Page 1 of 2




( 2 1 2) 3 7 3-3 1 9 1

( 2 1 2) 4 9 2-0 1 9 1

mfl u m e n b a u m @ p a ul w ei s s. c o m




               M ar c h 2 3 , 2 0 2 2


               Vi a E C F

               T h e H o n or a bl e A n alis a T orr es
               U nit e d St at es Distri ct C o urt
               S o ut h er n Distri ct of N e w Y or k
               5 0 0 P e arl St.
               N e w Y or k, N Y 1 0 0 0 7 -1 3 1 2


                               R e: S E C v. Ri p pl e L a bs, I n c. et al ., N o. 2 0-c v -1 0 8 3 2 ( A T) ( S. D. N. Y.)

               D e ar J u d g e T orr es :

                                      P urs u a nt t o P art I. G of t h e C o urt’s I n di vi d u al Pr a cti c es, w e writ e o n b e h alf
               of D ef e n d a nts C hristi a n L ars e n a n d Br a dl e y G arli n g h o us e ( c oll e cti v el y, t h e “ I n di vi d u al
               D ef e n d a nts ”), a n d wit h t h e c o ns e nt of t h e S E C, t o r e q u est t h at t h e d e a dli n e f or t h e
               I n di vi d u al D ef e n d a nts t o fil e t h eir a ns w er s t o t h e S E C’s First A m e n d e d C o m pl ai nt, E C F
               N o. 4 6, b e e xt e n d e d t w o w e e ks fr o m Fri d a y, M ar c h 2 5 t o Fri d a y, A pril 8, 2 0 2 2. T his
               r e q u est is t h e I n di vi d u al D ef e n d a nts’ first r e q u est f or a n e xt e nsi o n of ti m e t o fil e t h eir
               a ns w ers, a n d t h e S E C n ot e d its c o ns e nt t o t his r e q u est i n its M ar c h 2 1, 2 0 2 2 l ett er m oti o n
               s e e ki n g a n e xt e nsi o n of a s e p ar at e d e a dli n e. S e e E C F N o. 4 4 9, at 1 ( “ T h e I n di vi d u al
               D ef e n d a nts f urt h er r e q u est e d, t o w hi c h t h e S E C c o ns e nts, a n e xt e nsi o n of t h e M ar c h 2 5,
               2 0 2 2 d e a dli n e t o fil e t h eir A ns w ers u ntil A pril 8, 2 0 2 2. ”).
       Case 1:20-cv-10832-AT-SN Document 453 Filed 03/23/22 Page 2 of 2

                                                                                                             2


 D at e d: M ar c h 2 3 , 2 0 2 2         R es p e ctf ull y S u b mitt e d,
           N e w Y or k, N Y
                                          /s/ M arti n Fl u m e n b a u m
                                          M arti n Fl u m e n b a u m
                                          P A U L , W EI S S , RI F KI N D , WH A R T O N &
                                          G A R RI S O N L L P
                                          C o u ns el f or D ef e n d a nt C hristi a n A. L ars e n

                                          /s/ M att h e w C. S ol o m o n
                                          M att h e w C. S ol o m o n
                                          C L E A R Y G O T T LI E B S T E E N & H A MI L T O N
                                          C o u ns el f or D ef e n d a nt Br a dl e y G arli n g h o us e

c c:      All C o u ns el ( vi a E C F)
